                                        Case 4:20-cr-00266-JST           Document 419        Filed 11/04/24       Page 1 of 2




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     UNITED STATES OF AMERICA,                           Case No. 20-cr-00266-JST-1
                                                         Plaintiff,
                                   8
                                                                                             ORDER DENYING MOTION FOR
                                                  v.                                         CONTINUANCE
                                   9

                                  10     MICHAEL BRENT ROTHENBERG,                           Re: ECF No. 407
                                                         Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On November 16, 2023, Defendant Michael Rothenberg was convicted of a total of 21

                                  14   counts of bank fraud, false statements to a financial institution, wire fraud, and money laundering.

                                  15   ECF No. 339. The Court originally set sentencing for March 1, 2024. ECF No. 337. Sentencing

                                  16   was then continued several more times: to May 10, 2024, ECF No. 353; then to May 17, 2024,

                                  17   ECF No. 368; then to June 28, 2024, ECF No. 383; then to September 13, 2024, ECF No. 389; and

                                  18   finally, to November 8, 2024. ECF No. 403.

                                  19          Rothenberg now moves to continue the November 8 sentencing hearing once more. ECF

                                  20   No. 407.

                                  21          The Court considers four factors in deciding a motion for continuance: “(1) the extent of

                                  22   the defendant's diligence in readying her defense prior to the date set for trial; (2) the likelihood

                                  23   that the continuance would serve a useful purpose; (3) the extent to which a continuance would

                                  24   inconvenience the district court, the parties, or witnesses; and (4) the extent of prejudice, if any,

                                  25   that the defendant would suffer from denying a continuance.” United States v. Fabro-Miske, No.

                                  26   19CR00099DKWKJM12, 2023 WL 5020849, at *2 (D. Haw. Aug. 7, 2023) (citing United States

                                  27   v. Flynt, 756 F.2d 1352, 1359 (9th Cir. 1985)). “A trial judge has broad discretion in deciding a

                                  28   motion to continue . . . .” United States v. Wilke, No. CR19-5364, 2020 WL 92005, at *2 (W.D.
                                        Case 4:20-cr-00266-JST           Document 419          Filed 11/04/24      Page 2 of 2




                                   1   Wash. Jan. 8, 2020) (citing Morris v. Slappy, 461 U.S. 1, 11 (1983)).

                                   2           Rothenberg argues that a continuance would be “useful here because it will provide

                                   3   additional time to obtain records that will be relevant to the ‘loss’ inquiry,” i.e., the loss suffered

                                   4   by investor Pilot Grove. ECF No. 407 at 6. He notes that “[t]he initial delay caused by the need

                                   5   to obtain and review documents have [sic] already proven to be useful, as it resulted in the

                                   6   government significantly lowering its Guidelines loss amount, which had the corresponding effect

                                   7   of lowering the Sentencing Guidelines range and in turn, will likely lower the ultimate sentence.”

                                   8   Id. He also argues that a continuance would allow advisory counsel to determine whether Mr.

                                   9   Rothenberg intends to pursue an ineffective assistance of counsel claim against counsel of record.

                                  10           The Court will deny the motion. As to Defendant’s first argument, he has known since at

                                  11   least November 2023 that records concerning the losses suffered by each of Mr. Rothenberg’s

                                  12   victims would be relevant. That post-trial motions were made and decided since that time did not
Northern District of California
 United States District Court




                                  13   prevent counsel from also pursuing discovery or relieve counsel of the obligation to prepare for

                                  14   sentencing. And even if the pendency of post-trial motions had some bearing on prepation for

                                  15   sentencing, the last of those motions was decided on August 7, 2024. That left more than enough

                                  16   time to secure any records, if they existed. Moreover, the request is speculative. While

                                  17   Rothenberg states that he wants to pursue additional discovery concerning Pilot Grove’s losses, he

                                  18   does not identify—even by category—the kinds of records he thinks he might uncover. On that

                                  19   record, there is no way for the Court to find that the records would be useful or that Rothenberg

                                  20   would be prejudiced by the denial of a continuance.

                                  21           As to the second argument, this Court is unaware of any case, and Rothenberg cites none,

                                  22   continuing a sentencing hearing so that a defendant could pursue an ineffective assistance of

                                  23   counsel claim before final judgment has even been entered.

                                  24           Accordingly, Rothenberg’s motion to continue sentencing is denied.

                                  25           IT IS SO ORDERED.

                                  26   Dated: November 4, 2024
                                                                                          ______________________________________
                                  27
                                                                                                        JON S. TIGAR
                                  28                                                              United States District Judge

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